	NO. 07-11-0208-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL E

	JUNE 8, 2011
	______________________________

	STEVEN AVILES,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_______________________________

	FROM THE 137th DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 2006-414,317; HON. JOHN McCLENDON, PRESIDING
	_______________________________

	ORDER OF DISMISSAL
	_______________________________

Before QUINN, C.J., PIRTLE, J., and BOYD, S.J.
	Appellant Steven Aviles appeals his conviction for possession of marijuana.  Appellant, his attorney, and the trial court judge signed a waiver of right to appeal that states that [t]he Defendant in the above-entitled and  - numbered cause, with advice of his attorney, after having been found guilty, judgment accordingly having been entered and Defendant having filed a Notice of Appeal in this cause, does hereby withdraw his Notice of Appeal and abandon and withdraw his right of appeal."  This circumstance was brought to the attention of appellant and opportunity was granted him to obtain an amended certification entitling him to appeal.  No such certification was received within the time we allotted.  Having received no amended certification, we dismiss the appeal per Texas Rule of Appellate Procedure 25.2(d).

Per Curiam

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